                                                                                            08/21/2024


           IN THE SUPREME COURT OF THE STATE OF MONTANA
                                                                                        Case Number: DA 23-0632


                                      DA 23-0632
                                   _________________

IN RE THE MARRIAGE OF:

DAVID RODMAN ASH,

             Petitioner and Appellant,
                                                                   ORDER
      v.

BREE ELLIOT (f/k/a BRENDA MARIE ASH),

             Respondent and Appellee.
                                _________________

       Pursuant to the Internal Operating Rules of this Court, this cause is classified for
submission on briefs to a five-justice panel of this Court.
       The Clerk is directed to provide a copy hereof to all counsel of record and to the
Honorable Danni Coffman, District Judge.

                                                  For the Court,




                                                                             Electronically signed by:
                                                                                   Mike McGrath
                                                                      Chief Justice, Montana Supreme Court
                                                                                  August 21 2024
